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Pol‘tlzmd, OR 972{)4
Telephone: (503) 224~9429
Facsimile: (5()3) 220-2480

4/'-`\€101‘11€},\’$ for D€f@ndants Pz:rm.ers Grou§), [nc., Farm.ers lnsurancc Exch&nge,
Farmers l`nsu.rance Co'mpany, Inc. and Farme:rs lnsuran.ce Company cf

Oregon
UNITED STATES DISTRICT COURT
DISTRICT OF OREGON
L-A{JRA K`I,{EI`N, Civil NO. 02~CVWI451WHU
Plalntiff, AFFIDAVI'I` OF LETA E. GORMAN
IN SUPPORT OF UNOPPOSED
V- MOTION TO DISMISS DEFENDANT

_ _ _ FAR_MERS GROUP OF COMPANIES
`FARMERS GR()UP, I_NC., a Califoruia
corp€)l‘a.tion; `FARMERS INSURANCE
EXCHANGE-, INC., a Cafifornia
corporation; FA.RMERS GROUP OF
C€)MPANIES, 21 Califomia. corporation;
FARMERS INSURANCE C()§\/.IPANY, a
Caiifm'nia corporation; FARW{ERS
INSURANCE OF ORE-GON, a Cali.fornia
corporation; JOHN M¢:HALE, an
§ndividuaf; and A through .I Corporations,
inciusive,

Defendzmt_

 

l ~ AFFIDAV`IT OF LETA E. GOR,MAN fN SUPPORT OF UNOPPOSED MOTION
TO D.ISMISS .D.EFENDAN“{ FARMERS GROUP OF COMPANIES

l"c.)rtiu 113-l 4-'§6 '1 25,1 09455§6-00022

 

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S'EN`A"I`E OF OREGON )
) ss.
Co LGt§.-' et i\-'i`ultnoniali `)

i, L-eta `E. G-onnan, being first duly sworn, do depose and state:

l. l am an attorney With the firm of Stoei Rives LLP, counsel for defendants Fann.ers
G-rou'p, lne.. Fanners l`nsurance Exehange, lne., Farmers fnsurance Coinpany, and Fanners
insurance ol"Oregon in the abo\/'e~eaptionecl matter.

2. ln plaintif'f"s Complaint and First Aineiidecl Coinplaint, plaintiff names the entity
l~`anners Group of Coinpanies, a Califoi‘:iia corporation, as a defendant

3. Farmers Group of Companies is not now, nor has it ever been, a legal entity

4. Attaeliaed as E,xhibit A to this affidavit is a June ll, 2003 ietter from Elizabei‘h A.

isrle.i§aii.zi.ai, counsel for i;)laira‘i'l"ij agreeing to the dismissal of this entity defendant

Goririan, OSEQO. 93401

    
 

 
  

  

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Let

SUBSCRI_BED AND SWORN ’§O before me this i?Wday ofJune, 2003.

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?age 2 - AF§FIDAVIT OF LETA E. GORl\/IAN IN SUPPORT OF UNOPPOS.ED MOTION
TO DTSMISS DEFENDANT FARMERS GROUP OF COi\/EPANIES

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Case 3:02-CV-Ol451-|\/|O Document 28 Filed 06/17/03 Page 3 of 4

Attomeys

 

 

 

!MCKonncz Bistiop Jofte

John S. Bisnop. il
Eiizobeth A. lofte
Aruno A. Mc:s§h*
E|izcibeth A. Mci<onnci
Duno L. Sui|ivon*c-

*Aiso admitted in Wc}shington
c»AIso admitted in Coiifornio

June 11, 2003

Leta Gorman

Stoei Rives, LLP

900 SW Fifth Avenue, Suite 2600
Portiand OR 97204

Re: Laura Klein v. Farmers insurance et ai.
MBJ File No. 4566

Dear Leta:

in response to your letter of June 9, 2003, we are willing to dismiss defendant §ng§§’
Grhohuhphot§)lon;p§ni§§ based on your representation that that designation does not refer to an`y "`
tégai entifi?""i’n'exrsten‘&e now or et any relative time to this matter.

Sincereiy,
|V!CKANNA BISHOP JOFFE

 

E|iza ' eth A. McK-anna '

EAMZ If

Fr\McKanna\Kiein 4565\Gorman lett-nwch
co: Laura Kleln

tantet`tl WMM

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851 SW Sixih Avenue, Su§ie 1625. POrfiCl’td, OR 97204 PhOrte.' 503~226-6] il FGX: 503-226-6]2] ' mble!W.COm l

 

Case 3:02-c\/-Ol451-|\/|O Document 28 Filed 06/17/03 Page 4 of 4

csRTLFICATs ns ssnvrcs

l hereby certify that on lime 17, 2003, 1 served a copy of the within AFFIBAVIT OF

LETA E. GORi\/IAN lN SUPPORT OF UNOPPOSED l\‘IOTION TO DI`Si\/HSS

BEFENBANT FARMERS GROUP OF CO`§\’¥PANIES by electronic service through the U.S.

Distr§ct Court of Oregon Ci\/UECF systein, and by depositing in the United States Post Ot`tice at

Po:"tland, Oregon, a l`ull, true and correct copy thereof addressed to the following attorney of

record:

§liza§)eth A. l\/.ici<anna

MCKANNA BZSHOP JOFFE
SSl SW Sixth Avenne, Snite `l625

Portiand, OR 9720»4

Attorneys for PlaintifiC '

iolin i. `Mc[~l'ale

PO Box 2i53

Blue Bell, PA i9422
Pro Se

DAT_ED: June 17, 2003

`i - CERTIFICATE O`F SERV`I`CE

i"oi't| nd§ - l ~'§iii]§t)$.l 0045556-00032

Via Ci\"l'/F,CF & U.S. l‘vf§aii

Via U.S. First~Ciass Maii

STOEL- R.l\/'ES i_Li>

 
  

Chris-_i__ itcliei, OSB
Leta Gonnan, OS § _
Teleplione: (503) 224~9429
l:acsirniie: (503) 294-9170
E-inail: ct§itchel@stoel.corn
E-:naii: legorinan@stoei.coin

 

Attorn_eys for Det`endants Far.rners Grotip,
lnc., Faniiers lnsurance E-Xciiange, Farmers
insurance Coinpany, lnc. and Far:ners
insurance Cornpany of Oregon

 

